     Case 5:16-cv-00620-JGB-KK Document 223 Filed 09/14/18 Page 1 of 2 Page ID #:4461



1      Hon. Rosalyn M. Chapman (Ret.)
       JAMS
2
       555 West 5th Street, 32nd Floor
3      Los Angeles, CA 90013
       213-253-9740
4      rchapman@jamsadr.com                                                  9/14/2018
5
       Special Master                                                            MG

6

7

8
                                     UNITED STATES DISTRICT COURT
9
                                    CENTRAL DISTRICT OF CALIFORNIA
10

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        XOCHITL HERNANDEZ, CESAR                        Case No: EDCV 16-00620 JGB (KKx)
        MATIAS, for themselves and on behalf
14      of a class of similarly situated individuals,   (JAMS Ref. No: 1220059390)

15                      Plaintiffs-Petitioners,
16
                         v.
17
        JEFFERSON B. SESSIONS III,
18
        U.S. Attorney General, et al.,
19
                         Defendants-Respondents.
20

21

22

23                     NUNC PRO TUNC ORDER AMENDING DOCKET NO. 194
24

25            Paragraph 6 of Initial Discovery Order (Dkt. No. 194) is hereby amended at page 3, line
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       15, by inserting before the sentence that begins with the word “In-person”:     “Although no
27
       hearing date is set by the moving party, each side may file a supplemental memorandum of law
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                                                        1
     Case 5:16-cv-00620-JGB-KK Document 223 Filed 09/14/18 Page 2 of 2 Page ID #:4462



1      of ten (10) ) pages or less, no later than fourteen (14) days from the date of filing of the Joint
2
       Stipulation.”
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4

5
              IT IS SO ORDERED NUNC PRO TUNC.

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7             IT IS FURTHER ORDERED that the Case Manager shall promptly serve this Order on
8
       the parties and the District Court.
9

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12     Date: September 14, 2018
       1220059390.5                                 _________________________________
13
                                                     Hon. Rosalyn M. Chapman (Ret.),
14                                                   Special Master

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